              Case 8:07-cv-01871-DKC Document 35 Filed 05/19/08 Page 1 of 1
                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


CASEY JONES, et al.                                   *
                                 Plaintiffs
                                                      *
                         vs.                                      Civil Action No.: DKC 2007-1871
                                                      *
COSMETIC SURGERY
INTERNATIONAL, INC., et al.                           *
                Defendants
                                                    ******

                                              SETTLEMENT ORDER
                                               (LOCAL RULE 111)


           This court has been advised by the parties that the claims between Plaintiffs and the

Defendants Stephen Giunta and Stephen X. Giunta MD Ltd. have been settled, including all

counterclaims, cross-claims and third-party claims, if any. Accordingly, pursuant to Local Rule

111 it is ORDERED that:

           The Defendants Stephen Giunta and Stephen X. Giunta MD Ltd. are hereby dismissed

and each party is to bear its own costs unless otherwise agreed, in which event the costs shall be

adjusted between the parties in accordance with their agreement. The entry of this Order is

without prejudice to the right of a party to move for good cause within 30 days to reopen this

action if settlement is not consummated. If no party moves to reopen, the dismissal shall be with

prejudice.



Date:       May 19, 2008                                        /s/
                                                    DEBORAH K. CHASANOW
                                                    United States District Judge




U.S. District Court (Rev. 9/20/2004)
